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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS

Marcel Brown                                                    )
                                                                )
                Plaintiff                                       )       Case No: 19 C 4082
                                                                )
                v.                                              )
                                                                )       Judge: Lindsay C. Jenkins
City of Chicago et al                                           )
                                                                )
                Defendant                                       )

                                                Order




All counsels of record are permitted to have beverages and food delivered or brought into the Courthouse
for the duration of the jury trial, which is expected to last until September 10, 2024.



Date: 8/26/2024
                                                        Lindsay C. Jenkins
                                                        United States District Court Judge
